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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                     ) Chapter 11
                                                           )
JRV GROUP USA L.P., a Delaware limited                     ) Case No. 19-11095 (CSS)
partnership,1                                              )
                                                           )
                 Debtor.                                   )

                              CERTIFICATE OF SERVICE RE:


Docket             ORDER GRANTING MOTION OF THE LIQUIDATION TRUSTEE
No. 548            FOR ORDER UNDER BANKRUPTCY CODE SECTION 105(a) AND
                   BANKRUPTCY RULE 9006 EXTENDING THE CLAIMS
                   OBJECTION DEADLINE


         I, Bradford Daniel, state as follows:

         1.      I am over eighteen years of age and I believe the statements contained

herein are true based on my personal knowledge. My business address is c/o BMC

Group, Inc., 3732 West 120th Street, Hawthorne, California 90250.

         2.      On July 30, 2021, at the direction of Womble Bond Dickinson (US) LLP,

Counsel to the Liquidation Trustee, copies of the document listed above were served on

the parties listed in the attached Exhibit A via the modes of service indicated thereon:



  Exhibit A          The Core/2002 Parties referenced in Service List Nos. 75170 and 75171.


         I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

         Executed on the 2nd day of August, 2021 at New York, New York.

                                                                /s/ Bradford Daniel
                                                              Bradford Daniel



1 The Debtor’s last four digits of its taxpayer identification number are (5218). The headquarters and
  service address for the above-captioned Debtor is c/o Sherwood Partners, Inc., 3945 Freedom Circle,
  Suite 560, Santa Clara, CA 95054.

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JRVGroup
Total number of parties: 69



Exhibit A - JRV Group
Svc Lst Name and Address of Served Party                                                               Mode of Service

 75170   ALVAREZ & MARSAL CANADA INC., ALAN J. HUTCHENS, 200 BAY STREET, SUITE 2900, ROYAL BANK        US Mail (1st Class)
         SOUTH TOWER, TORONTO, ON, M5J 2J1 CANADA
 75170   ALVAREZ & MARSAL CANADA INC., DOUG MCINTOSH, 200 BAY STREET, SUITE 2900, ROYAL BANK SOUTH US Mail (1st Class)
         TOWER, TORONTO, ON, M5J 2J1 CANADA
 75170   BARNES & THORNBURG LLP, TIMO REHBOCK, (RE: DEBTOR & DEBTOR IN POSSESSION), ONE NORTH          US Mail (1st Class)
         WACKER DRIVE, SUITE 4400, CHICAGO, IL, 60606
 75170   BEAVER MOTORS, INC., 19689 RT 522, PO BOX 126, BEAVER SPRINGS, PA, 17812                      US Mail (1st Class)

 75170   BLAKE, CASSELS & GRAYDON LLP, PAMELA L J HUFF, COMMERCE COURT WEST, 199 BAY STREET,           US Mail (1st Class)
         SUITE 4600, TORONTO, ON, M5L 1A9 CANADA
 75170   BLANEY MCMURTRY LLP, JOHN C WOLF, BARRISTERS & SOLICITORS, 2 QUEEN STREET EAST, SUITE         US Mail (1st Class)
         1500, TORONTO, ON, M5C 3G5 CANADA
 75170   BMC GROUP, INC, ATTN: T FEIL, 3732 W. 120TH STREET, HAWTHORNE, CA, 90250                      US Mail (1st Class)

 75170   CA DEPARTMENT OF MOTOR VEHICLES, INSPECTOR OFFICE, 473 E. CARNEGIE DR., SUITE 150, SAN        US Mail (1st Class)
         BERNARDINO, CA, 92408
 75170   CA DEPARTMENT OF MOTOR VEHICLES, DIANNE STRANGE, SUP. INSPECTOR, INSPECTOR OFFICE             US Mail (1st Class)
         REGION 4, 1365 N. GRAND AVE., STE 102, COVINA, CA, 91724
 75170   CA STATE BOARD OF EQUALIZATION, SPECIAL OPERATIONS BANKRUPTCY TEAM, MIC: 74, PO BOX           US Mail (1st Class)
         942879, SACRAMENTO, CA, 94279-0074
 75170   CALIFORNIA DEPARTMENT OF JUSTICE, XAVIER BECERRA, ESQUIRE, 1300 I STREET, SUITE 1740,         US Mail (1st Class)
         SACRAMENTO, CA, 95814
 75170   CALIFORNIA STATE TREASURER, 915 CAPITOL MALL, SUITE 11 0, SACRAMENTO, CA, 95814               US Mail (1st Class)

 75170   CASSELS BROCK & BLACKWELL LLP, JOSEPH J BELLISSIMO, 2100 SCOTIA PLAZA, 40 KING ST WEST,       US Mail (1st Class)
         TORONTO, ON, M5H 3C2 CANADA
 75170   CHRIMA METAL FABRICATION, MS. DENISE CHASE, 559 DOURO STREET, STRATFORD, ON, N5A 0E3          US Mail (1st Class)
         CANADA
 75170   CITY OF ONTARIO, 303 EAST B STREET, ONTARIO, CA, 91764                                        US Mail (1st Class)

 75170   CITY OF RIVERSIDE, 3900 MAIN ST, RIVERSIDE, CA, 92522                                         US Mail (1st Class)

 75170   COOKSEY TOOLEN GAGE DUFFY WOOG, KIM P GAGE, 535 ANTON BOULEVARD, SUITE 1000, COSTA            US Mail (1st Class)
         MESA, CA, 92626-1977
 75170   COOKSEY, TOOLEN, GAGE, DUFFY & WOOG, KIM GAGE, (RE: MERCEDES-BENZ FIN. SERVICES USA LLC), US Mail (1st Class)
         535 ANTON BLVD, 10TH FL, STE 100, COSTA MESA, CA, 92626
 75170   CORNER FLAG LLC, 251 LITTLE FALLS DRIVE, WILMINGTON, DE, 19808                                US Mail (1st Class)

 75170   CORRE PARTNERS MANAGEMENT LLC, STEPHEN LAM, 12 EAST 49TH STREET, 40TH FLOOR, NEW YORK, US Mail (1st Class)
         NY, 10017
 75171   CRAVATH, SWAINE & MOORE LLP, G.ZOBITZ/A.GERTEN, (RE: CORNER FLAG LLC),                        E-mail
         JZOBITZ@CRAVATH.COM
 75171   CRAVATH, SWAINE & MOORE LLP, G.ZOBITZ/A.GERTEN, (RE: CORNER FLAG LLC),                        E-mail
         AGERTEN@CRAVATH.COM
 75170   CRAVATH, SWAINE & MOORE LLP, GEORGE E ZOBITZ AND PAUL L SANDLER, (RE: DIP LENDER &            US Mail (1st Class)
         PREPETITION LENDERS), 825 EIGHTH AVENUE, NEW YORK, NY, 10019
 75170   DELAWARE DEPARTMENT OF JUSTICE, KATHY JENNINGS, ESQUIRE, CARVEL STATE OFFICE BLDG, 6TH        US Mail (1st Class)
         FL, 820 N. FRENCH STREET, WILMINGTON, DE, 19801
 75170   DELAWARE DIVISION OF REVENUE, CHRISTINA ROJAS, CARVEL STATE OFFICE BLDG, 8TH FL, 820 N.       US Mail (1st Class)
         FRENCH STREET, WILMINGTON, DE, 19801
 75170   DELAWARE SECRETARY OF TREASURY, 820 SILVER LAKE BLVD, SUITE 100, DOVER, DE, 19904             US Mail (1st Class)




 JRVGroup

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Exhibit A - JRV Group
Svc Lst Name and Address of Served Party                                                                Mode of Service

 75170   DENTONS CANADA LLP, ELAINE GRAY, 77 KING STREET WEST, SUITE 400, TORONTO-DOMINION              US Mail (1st Class)
         CENTRE, TORONTO, ON, M5K 0A1 CANADA
 75170   DIP LENDER AND PREPETITION LENDERS, ATTN: MARK GOTTLIEB, C/O BXV PARTNERS LLC, 21 LITTLE       US Mail (1st Class)
         FALLS DRIVE, WILMINGTON, DE, 19808
 75170   DS LAWYERS CANADA LLP, JUSTIN R FOGARTY, 8 KING STREET EAST, SUITE 1804, TORONTO, ON, M5C      US Mail (1st Class)
         1B5 CANADA
 75170   ERWIN HYMER GROUP HOLDING USA L P, 55 WEST MONROE STREET, SUITE 2900, CHICAGO, IL, 60603       US Mail (1st Class)

 75170   ERWIN HYMER GROUP USA, L P, 55 WEST MONROE STREET, SUITE 2900, CHICAGO, IL, 60603              US Mail (1st Class)

 75170   FINANCIAL SERVICES COMM. OF ONTARIO, ANNA VANI, 5160 YONGE STREET, 16TH FLOOR, TORONTO,        US Mail (1st Class)
         ON, M2N 6L9 CANADA
 75170   FOGLER, RUBINOFF LLP, VERN W DARAE, TORONTO-DOMINION CNTR, 77 KING ST W, SUITE 3000, PO        US Mail (1st Class)
         BOX 95, TORONTO, ON, M5K 1G8 CANADA
 75170   FRANCHISE TAX BOARD, SECRETARY OF STATE - CA, BANKRUPTCY, BE MS A345, PO BOX 2952,             US Mail (1st Class)
         SACRAMENTO, CA, 95812-2952
 75170   GOWLING WLG (CANADA) LLP, THOMAS GERTNER, BARRISTERS & SOLICITORS; STE 1600, 1 1ST             US Mail (1st Class)
         CANADIAN PL, 100 KING ST W, TORONTO, ON, M5X 1G5 CANADA
 75170   INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPS, 2970 MARKET ST MS 5-Q30133 BOX           US Mail (1st Class)
         7346, PHILADELPHIA, PA, 19101
 75170   JRV GROUP USA L P, ATTN: ANDREW DE CAMARA, CRO, (RE: DEBTOR), 1945 BURGUNDY PLACE,             US Mail (1st Class)
         ONTARIO, CA, 91761
 75170   JRV GROUP USA L.P., C/O SHERWOOD PARTNERS, INC., 3945 FREEDOM CIRCLE, STE 560, SANTA           US Mail (1st Class)
         CLARA, CA, 95054
 75170   KOHNER, MANN & KAILAS, S C, SANUEL WISOTSKEY, 4650 N PORT WASHINGTON RD, WASHINGTON            US Mail (1st Class)
         BLDG , 2ND FLOOR, MILWAUKEE, WI, 53212-1059
 75170   MILLER THOMSON LLP, GREG AZEFF, SCOTIA PLZ, 40 KING ST W., STE 5800, PO BOX 1011, TORONTO,     US Mail (1st Class)
         ON, M5H 3S1 CANADA
 75170   NORTON ROSE FULBRIGHT CANADA LLP, VIRGINIE GAUTHIER, ROYAL BANK PLAZA, SOUTH TOWER, 200 US Mail (1st Class)
         BAY STREET, SUITE 3800, TORONTO, ON, M5J 2Z4 CANADA
 75170   OFFICE OF GENERAL COUNSEL, U.S. DEPARTMENT OF THE TREASURY, 1500 PENNSYLVANIA A VENUE,         US Mail (1st Class)
         NW, WASHINGTON, DC, 20220
 75170   OFFICE OF THE CHIEF COUNSEL, PENSION BENEFIT GUARANTY CORP, 1200 K STREET, NW,                 US Mail (1st Class)
         WASHINGTON, DC, 20005
 75170   OFFICE OF THE US ATTORNEY GENERAL, WILLIAM P. BARR, ESQUIRE, U.S. DEPARTMENT OF JUSTICE,       US Mail (1st Class)
         950 PENNSYLVANIA AVE, NW, ROOM 4400, WASHINGTON, DC, 20530-0001
 75171   OFFICE OFTHE UNITED STATES TRUSTEE, LINDA J. CASEY, ESQUIRE, LINDA.CASEY@USDOJ.GOV             E-mail

 75170   OSLER, HOSKIN & HARCOURT LLP, TRACY SANDLER, BOX 50, 1 FIRST CANADIAN PLACE, 100 KING          US Mail (1st Class)
         STREET WEST, SUITE 6200, TORONTO, ON, M5X 1B8 CANADA
 75171   PACHULSKI STANG ZIEHL & JONES LLP, COLIN R. ROBINSON, ESQUIRE, CROBINSON@PSZJLAW.COM           E-mail

 75170   PACHULSKISTANGZIEHLJONES LLP, JEFFREY DULBERG;ROBERT SAUNDERS, 10100 SANTA MONICA              US Mail (1st Class)
         BLVD 13TH FL, LOS ANGELES, CA, 90067
 75170   RICHARDS, LAYTON & FINGER P A, PAUL N HEATH AND ZACHARY I SHAPIRO, (RE: DIP LENDER &           US Mail (1st Class)
         PREPETITION LENDERS), 920 NORTH KING STREET, WILMINGTON, DE, 19801
 75171   RICHARDS, LAYTON & FINGER, P.A., PAUL N. HEATH & ZACHARY I. SHAPIRO, (RE: CORNER FLAG LLC),    E-mail
         HEATH@RLF.COM
 75171   RICHARDS, LAYTON & FINGER, P.A., PAUL N. HEATH & ZACHARY I. SHAPIRO, (RE: CORNER FLAG LLC),    E-mail
         SHAPIRO@RLF.COM
 75170   ROBINS APPLEBY LLP, DOMINIQUE MICHAUD, BARRISTERS & SOLICITORS, 2600 – 120 ADELAIDE STREET US Mail (1st Class)
         WEST, TORONTO, ON, M5H 1T1 CANADA
 75170   ROCK CREEK ADVISORS LLC, 800 CONNECTICUT AVE. NW, SUITE 800, WASHINGTON, DC, 20006             US Mail (1st Class)

 75170   SAN BERNARDINO CTY FIRE PROTECT DIS, 157 W. FIFTH STREET SECOND FLOOR, SAN BERNARDINO,         US Mail (1st Class)
         CA, 92415
 75170   SAN BERNARDINO CTY TAX COLLECTOR, 268 W. HOSPITALITY LANE, FIRST FL, SAN BERNARDINO, CA,       US Mail (1st Class)
         92415-0360


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Svc Lst Name and Address of Served Party                                                               Mode of Service

 75170   SECURITIEDS & EXCHANGE COMMISSION, SHARON BINGER, REGIONAL DIRECTOR, PHILADELPHIA             US Mail (1st Class)
         REGIONAL OFFICE, 1 PENN CTR STE 520 1617 JFK BLVD, PHILADELPHIA, PA, 191 03
 75170   SECURITIES & EXCHANGE COMMISSION, OFFICE OF GENERAL COUNSEL, 100 F STREET, NE,                US Mail (1st Class)
         WASHINGTON, DC, 20554
 75170   SECURITIES & EXCHANGE COMMISSION, ANDREW CALAMARI, REGIONAL DIRECTOR, NEW YORK                US Mail (1st Class)
         REGIONAL OFFICE, BROOKFIELD PL STE 400 200 VESEY ST, NEW YORK, NY, 10281
 75170   SECURITIES AND EXCHANGE COMM - CA, ATTN: BANKRUPTCY COUNSEL, 444 SOUTH FLOWER STREET,         US Mail (1st Class)
         SUITE 900, LOS ANGELES, CA, 90071-591
 75170   SHERWOOD PARTNERS, INC., ATTN: MICHAEL A MAIDY, 3945 FREEDOM CIRCLE, SUITE 560, SANTA         US Mail (1st Class)
         CLARA, CA, 95054
 75170   SOUTH COAST AQMD, 21865 COPLEY DRIVE, DIAMOND BAR, CA, 91765                                  US Mail (1st Class)

 75170   STATE OF DELAWARE, DIV OF CORPORATIONS -FRANCHISE TAX, JOHNTOWNSEND BLDG, STE4, 401 FED US Mail (1st Class)
         ST, PO BOX 898 (ZIP 19903), DOVER, DE, 19901
 75170   TCF INVENTORY FINANCE INC., PETER SCHMIDT, SCHAUMBURG CORPORATE CENTER, 1475 E                US Mail (1st Class)
         WOODFIELD ROAD, SUITE 1100, SCHAUMBURG, IL, 60173
 75170   TORYS LLP, ADAM SLAVENS, 79 WELLINGTON ST. W , SUITE 3000, BOX 270, TD CENTRE, TORONTO, ON,   US Mail (1st Class)
         M5K 1N2 CANADA
 75171   UNITED STATES ATTORNEY`S OFFICE, DAVID C. WEISS, USADE.ECFBANKRUPTCY@USDOJ.GOV                E-mail

 75170   WELLS FARGO, RICK KANABAR, 1290 CENTRAL PKWY W, SUITE 1100, MISSISSAUGA, ON, L5C 4R3          US Mail (1st Class)
         CANADA
 75171   WOMBLE BOND DICKINSON (US) LLP, M. WARD; E. JOHNSON; N. VERNA, (RE: OFFICIAL COM OF           E-mail
         UNSECURED CREDITORS), MATTHEW.WARD@WBD-US.COM
 75171   WOMBLE BOND DICKINSON (US) LLP, M. WARD; E. JOHNSON; N. VERNA, (RE: OFFICIAL COM OF           E-mail
         UNSECURED CREDITORS), ERICKA.JOHNSON@WBD-US.COM
 75171   WOMBLE BOND DICKINSON (US) LLP, M. WARD; E. JOHNSON; N. VERNA, (RE: OFFICIAL COM OF           E-mail
         UNSECURED CREDITORS), NICK.VERNA@WBD-US.COM

Subtotal for this group: 69




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